     Case 3:19-cv-00769-JLS-KSC Document 22 Filed 08/19/22 PageID.219 Page 1 of 5



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   SECURITIES AND EXCHANGE                              Case No.: 19-CV-769 JLS (KSC)
     COMMISSION,
12
                                        Plaintiff,        FINAL JUDGMENT AS TO
13                                                        DEFENDANT CHRISTOPHER
     v.                                                   D. DOUGHERTY
14
     CHRISTOPHER D. DOUGHERTY;
15                                                        (ECF Nos. 19 & 20)
     C&D PROFESSIONAL SERVICES,
16   INC. dba C&N WEALTH
     MANAGEMENT; JTA FARM
17
     ENTERPRISES, LLC; and JTA REAL
18   ESTATE HOLDINGS, LLC,
19                                   Defendants.
20
21         Plaintiff Securities and Exchange Commission (the “SEC”) having filed a Complaint
22   and Defendant Christopher D. Dougherty (“Defendant”) having entered a general
23   appearance; consented to the Court’s jurisdiction over Defendant and the subject matter of
24   this action; consented to entry of this Final Judgment; waived findings of fact and
25   conclusions of law; and waived any right to appeal from this Final Judgment:
26                                                   I.
27         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
28   permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of

                                                     1
                                                                                19-CV-769 JLS (KSC)
     Case 3:19-cv-00769-JLS-KSC Document 22 Filed 08/19/22 PageID.220 Page 2 of 5



 1   the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule
 2   10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, by using any means or
 3   instrumentality of interstate commerce, or of the mails, or of any facility of any national
 4   securities exchange, in connection with the purchase or sale of any security:
 5         (a)    to employ any device, scheme, or artifice to defraud;
 6         (b)    to make any untrue statement of a material fact or to omit to state a material
 7         fact necessary in order to make the statements made, in the light of the circumstances
 8         under which they were made, not misleading; or
 9         (c)    to engage in any act, practice, or course of business which operates or would
10         operate as a fraud or deceit upon any person.
11         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
12   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
13   following who receive actual notice of this Final Judgment by personal service or
14   otherwise:
15         (a) Defendant’s officers, agents, servants, employees, and attorneys; and
16         (b) other persons in active concert or participation with Defendant or with anyone
17         described in (a).
18                                                II.
19         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
20   Defendant is permanently restrained and enjoined from violating Section 17(a) of the
21   Securities Act of 1933 (the “Securities Act”), 15 U.S.C. § 77q(a), in the offer or sale of any
22   security by the use of any means or instruments of transportation or communication in
23   interstate commerce or by use of the mails, directly or indirectly:
24         (a)    to employ any device, scheme, or artifice to defraud;
25         (b)    to obtain money or property by means of any untrue statement of a material
26         fact or any omission of a material fact necessary in order to make the statements
27         made, in light of the circumstances under which they were made, not misleading; or
28   ///

                                                   2
                                                                                 19-CV-769 JLS (KSC)
     Case 3:19-cv-00769-JLS-KSC Document 22 Filed 08/19/22 PageID.221 Page 3 of 5



 1         (c)    to engage in any transaction, practice, or course of business which operates or
 2         would operate as a fraud or deceit upon the purchaser.
 3         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
 4   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
 5   following who receive actual notice of this Final Judgment by personal service or
 6   otherwise:
 7         (a) Defendant’s officers, agents, servants, employees, and attorneys; and
 8         (b) other persons in active concert or participation with Defendant or with anyone
 9         described in (a).
10                                               III.
11         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
12   Defendant is permanently restrained and enjoined from violating Sections 206(1) and (2)
13   of the Investment Advisers Act of 1940 (the “Advisers Act”), 15 U.S.C. §§ 80b-6(1) and
14   (2), by, while acting as an investment adviser, using the mails or any means or
15   instrumentality of interstate commerce, directly or indirectly:
16         (a)    to employ any device, scheme, or artifice to defraud any client or prospective
17         client; or
18         (b)    to engage in any transaction, practice, or course of business which operates as
19         a fraud or deceit upon any client or prospective client.
20         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
21   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
22   following who receive actual notice of this Final Judgment by personal service or
23   otherwise:
24         (a) Defendant’s officers, agents, servants, employees, and attorneys; and
25         (b) other persons in active concert or participation with Defendant or with anyone
26         described in (a).
27   ///
28   ///

                                                  3
                                                                                19-CV-769 JLS (KSC)
     Case 3:19-cv-00769-JLS-KSC Document 22 Filed 08/19/22 PageID.222 Page 4 of 5



 1                                                IV.
 2         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
 3   Defendant is liable for disgorgement of $4,751,590, representing profits gained as a result
 4   of the conduct alleged in the Complaint, together with prejudgment interest thereon in the
 5   amount of $563,226, for a total of $5,314,816. Defendant’s $5,314,816 payment obligation
 6   shall be deemed satisfied by the Stipulation and Order on Restitution entered against
 7   Defendant on October 26, 2021, in The People of the State of California v. Christopher
 8   Dougherty, Case No. CD281450 (San Diego Super. Ct., filed April 24, 2019).
 9                                                V.
10         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent
11   of Defendant Christopher D. Dougherty (ECF No. 20) is incorporated herein with the same
12   force and effect as if fully set forth herein, and that Defendant shall comply with all the
13   undertakings and agreements set forth therein.
14                                                VI.
15         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for
16   purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11
17   U.S.C. §523, the allegations in the Complaint are true and admitted by Defendant, and
18   further, any debt for disgorgement, prejudgment interest, civil penalty, or other amounts
19   due by Defendant under this Final Judgment or any other judgment, order, consent order,
20   decree, or settlement agreement entered in connection with this proceeding, is a debt for
21   the violation by Defendant of the federal securities laws or any regulation or order issued
22   under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.
23   §523(a)(19).
24                                               VII.
25         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
26   shall retain jurisdiction of this matter for the purposes of enforcing the terms of this Final
27   Judgment.
28   ///

                                                   4
                                                                                 19-CV-769 JLS (KSC)
     Case 3:19-cv-00769-JLS-KSC Document 22 Filed 08/19/22 PageID.223 Page 5 of 5



 1                                           VIII.
 2         There being no just reason for delay, pursuant to Federal Rule of Civil Procedure
 3   54(b), the Clerk of the Court SHALL ENTER this Final Judgment forthwith and without
 4   further notice.
 5         IT IS SO ORDERED.
 6   Dated: August 19, 2022
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               5
                                                                            19-CV-769 JLS (KSC)
